Case 1:99-cV-01286-.]DB-tmp Document 87 Filed 07/08/05 Page 1 of 2 Page|D 76

 

 

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EASTERN DIVISION \ /
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TERRY 0TT0WAY, JUDGMENT IN A cleL cAsE’:"/`f
Plaintifr,
V.
CoRRECTIoNs coRPORATION cAsE No= 1=99-1286-1?.
or AMERICA, er ai.,
Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

IT IS SO ORDERED AND AD.IUDGED that in accordance with the Agreed Order Of
Dismissal With Prejudice entered on July 5, 2005, this cause is hereby dismissed with prejudice.

 

 

THOMAS M. GOULD

Clerk of Court

C.Qf@é&

(By) Deputy Clerk

 

This document entered on the docket sheet in compliance

with Ru!e 58 and.'or_79 (a} FRCP on Q‘] ' l l" Q~S

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 87 in
case 1:99-CV-01286 Was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

